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IN THE COURT OF COMMON PLEAS OF FRANKLIN COUNTY, OHIO

MICHAEL P. FARRELL.

454 East Main Street, Suite 100 :
Columbus, OH 43215, : qicve 08 19099
: Case Ro.
Plaintiff, :
: Judge
Vs. :
; : (Jury Demand Endorsed.Hereon)
FIA CARD SERVICES :
-Post Office Box 15026

Wilmington, DE 19850-5026,

THE HUNTINGTON NATIONAL BANK

41 South High Street _ cs
Columbus, OH 43215, : o£ 35
: mM 2m MS
And : RS “%=-
— Ve
: oO pw ae
JOHN DOES 1 THRU 3 : 2 = BPy
(Names and Addresses Unknown), : & n 2 2
Defendants. 2 2 os
COMPLAINT
COUNT ONE

At all times pertinent, Plaintiff, Michael P. Farrell, has been a leader in the
business community of Columbus, Chio, being the President of The
Mortgage Fim, Inc. Total Cholce Financlal Services; LLC, MPF

Management, LLC, Total Choice Realty, LLC, and Allstate Total Choice
Agencies, among others.

At all times pertinent, Plaintiff held all of his financial accounts with The -

Huntington National Bank of Columbus, Ohio and the said Huntington is
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familiar with all of Plaintiffs business and family affairs.

3. In 2007, Plaintiff responded to a Marketing Letter from Huntington National
Bank, offering him a $50,000.00 credit card with an APR of 9.99%.

4, At all times pertinent, Plaintiff worked with an associate from Huntington
National Bank through the entire time of this Offer and Plaintiff, as well, had
a private and business banker with the Huntington, never knawing who FiA
Card Services really was.

5. Plaintiff learned that FIA Card Services was a company out of Wilmington,
Delaware and was a “contracted company” servicing only the clients that
Huntington Bank sent to them.

6. Plaintiff accepted Huntington's invitation and thereafter he began receiving
all correspondence regarding this new credit card ending in Account #90197
from FIA

7 After Congress passed legislation regulating credit card companies in their
deceptive practices, Plaintiff received his first round of notices from FIA
advising him that his payments would be increased from $600.00 per month
to $1,200.00 per month.

8. Plaintiff contacted FIA to inquire as to why his payments woukd be increasing
and was told by FIA that the increase was due to Plaintiff's being 3 days late
on a scheduled payment, something Plaintiff denied, requesting FIA to
demonstrate the truth of its representation to him.

9. Thereafter, F1A raised Plaintiffs monthly payment to the sum of $1,800.00
per month, with an increased APR of 29.99%.

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10. — Plaintiffagain contacted FIA demanding an explanation, vehemently arguing
with it that he was not late on a payment, and could not obtain relief from FIA
to correct its error.

11. In December of 2010, Plaintiff continued to plead his case with FIA and was
advised that the only way he could obtain relief in this fiasco was to close the
account in question.

12. FlA explained to Plaintiff that if he closed the account; FIA would reduce his
payments to $950.00 per month, lower his APR to 5%, and set up a
repayment plan for a period of 5 years.

13. Plaintiff, being reluctant to take this course, nevertheless agreed to FIA's
terms as he felt his hands were tied in that FIA-would not accept his
explanation that it had made a mistake.

14. Thereafter, FIA established the balance at that time to be $50,062.16 and
told Plaintiff he was required to pay the sum of $1,570.00 to start the
program, which Piaintiff did.

15. Thereafter, Plaintiff gave FIA authorization to withdraw from his account the
sum of $950.00 on a monthly basis and yet, as reflected by the Statement
Period of dated January 11 February 9, 2011, FIA still reflected that he was
late in making payments, stating a past due amount in the sum of $487.36
{See Exhibit A annexed).

16. Plaintiff only agreed to the repayment program, provided the same would not
have a negative impact on his credit score.

17. Notwithstanding all of Plaintiff's pleas with FIA that it had made a mistake,

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on February 14, 2011, Plaintiff received a letter from FIA advising him that,
all along, he was correct with his rendition of the facts, viz., that FIA had
made an error in raising his monthly payments and APR. Annexed hereto
as Exhibit B Is FIA’s correspondence which verifies this fact and reads in
pertinent part as follows:

Thank you for choosing the FIA Card Services
credit card with Account Number ending in 9197,
We recently identified an error impacting the
Non-Promotional Annual Percentage Rate(s)
(APR) on your account. After your account was
reported fost or steien, late fee or over mit fee
information was inadvertently transferred to your
new account. As a result of this error, the APR

on your account was increased and it should not
have been.

 

We apologize for this error and any confusion it
may have caused. Rest assured, we have
corrected the rate(s) on your account and
refunded any interest charges that may have
been assessed as a result of this error. You will
see confirmation of these adjustments on your
next monthly billing statement. No action is
required on your part.
18. Plaintiff reasserts herein that he made very effort possible to correct FIA's

error, all of which fell on deaf ears.

19. Plaintiffis a licensed professional in the lending industry, an insurance agent
with Allstate, a registered representative with SEC/FINRA, and his. credit is
vitally important to him and his businesses.

20. Asa result of what occurred in this case, Plaintiff suffered much financial
stress and the actions of FIA affected Plaintiff in growing his company and
weathering the hard economic times over the past several years.

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21, Plaintiff was forced to lay off good employees to ensure he had money to
pay his creditors and suffered extreme mental stress and anxiety by virtue
of FIA representatives calling his office, his home, and his cell phone as if
Plaintiff were trying to dodge his financial obligations.

22. Plaintiff states that he did absolutely nothing wrong in this case, that he
stayed in constant contact with FIA, and could get no one’s attention to
address FIA’s mistake which it subsequently agreed to.

23. FIA adversely affected Plaintiffs credit rating in closing his account and
reporting that the account was closed to the three credit reporting agencies.

24. In agood falth effort, Plaintiff attempted to resolve this dispute with FIA Card
Services and Huntington National Bank with his counsel's correspondence
of March 10, 2011, annexed hereto as Exhibit C.

25. As FIiAdid over the past 3 years, this correspondence too fell:on deaf ears,
Plaintiff never even receiving a response to the correspondence in question.

28. The actions of FIA were wanton and reckless in nature and exceeded acts
constituting ordinary negligence.

27. As the direct and proximate cause of FIA's conduct in this. case, Plaintiff has

suffered economic loss, mental and emotional distress, and such other and

further damages as will be proven at the tral of this: matter.

 

28, Plaintiff hereby incorporates Paragraphs 1 through 27 if fully set out herein.
29. Plaintiffs alleges that Defendant, FIA, violated the Consumer Credit
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Protection Act, 15 U.S.C. 1601, et seq., and Title Vill; Debt Collection
Practices Act, Sections 806, 807, 808, 809, and other Sections to be set
forth as discovery proceeds.

30. As aresult of FIA’s violation of the Federal Fair Debt Practices Act, Plaintiff
has been damaged.

COUNT THREE - OHIO FAIR DEBT COLLECTION PRACTICES ACT

31. Plaintiff hereby incorporates Paragraphs 1 through 30 if fully set out herein.

32. Plaintiff alleges that Defendant, FIA, violated the Ohio Fair Debt Collection
Practices Act, Section 1319.12, of the Ohio Revised Code, and other State
Statutes as will be identified and set forth as Discovery proceeds.

33. Asa result of FIA’s violation of the Ohio Fair Debt Collection Practices Act,
Plaintiff has suffered damages.

COUNT FOUR _- TRUTH IN LENDING (REGULATION Z)
34. Plaintiff hereby incorporates Paragraphs 1 through 33 if fully set out herein.
35. Plaintiff. alleges that FIA violated the Federal Truth in Lending law
(Regulation Z), as will be specificaily set forth as Discovery proceeds.
36. Asa result of FiA’s violation of the Federal Truth in Lending Law, Plaintiff
has suffered damages.
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COUNT FIVE - PREDATORY LENDING
37. Plaintiff hereby incorporates Paragraphs 1 through 36 as if fully set out
herein.
38. Plaintiff alleges that FIA’s actions as described above constituted predatory
fending including, but not limited to, unfalr, deceptive, or fraudulent practices.
39. As a result of the predatory lending actions of FIA, Plaintiff has been
damaged.

COUNT SIX - THE HUNTINGTON NATIONAL BANK

40. Plaintiff hereby Incorporates Paragraphs 1 through 39 as ff fully set out
herein.

41. Atalltimes pertinent, Huntington solicited Plaintiffs business, Plaintiff having
no idea of the identify of FIA Card Services when the transaction was
consummated.

42. When Plaintiffs payments were increased and his rate was adjusted upward,
Plaintiff contacted the Huntington who advised Plaintiff that a lot of
customers were upset with the various things FIA Card Services was doing
with Huntington clients.

43. Plaintiff states that it was only after contacting Huntington after FIA Card
Services changed its agreement with him, he realized that FIA was a
contracted credit card service company working for or on behalf of
Huntington.
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47.

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Plaintiff attempted to rectify all of the problems set forth above with
Huntington and this too ail fell on deaf ears.

Plaintiff incorporates Counts One through Five above and all of the

allegations as if said allegations are and were. being made against
Defendant, Huntington National Bank.

COUNT SEVEN - ATTORNEY FEES
Plaintiff hereby Incorporates Paragraphs 1 through 45 as if fully set out
herein.
in addition to all common law and statutory relief to which Plaintiff may be
entitied, including attomey fees, Plaintiff sets forth a separate Count for
attomey fees in pursuing this matter based on the undisputed facts as
alleged above and attached hereto.

COUNT EIGHT - JOHN DOE #1
Plaintiff hereby incorporates Paragraphs 1 through 47 as if fully set out
herein.

John Doe #1 would have liability to Defendant based on the facts set forth
above.

COUNT NINE - JOHN DOE #2
Plaintiff hereby incorporates Paragraphs 1 through 49 as #f fully set out’
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herein.

51. John Doe #2 would have liability to Defendant based on the facts get forth
above.

COUNT TEN - JOUN DOE #3

52. Plaintiff hereby incorporates Paragraphs 1 through 61 as if fully set out

herein.

53. John Doo #3 would have liability to Defendant based on the facts set forth

above.

WHEREFORE,, Plaintiff demands Judgment against all Defendants, jointly and
severally, for compensatory damages, punitive damages, reasonable attomey fees, afi in
excess of $25,000.00, and such other and further relief as the Court deems just and
proper.

 

 

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